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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


MIRNA HAMMOUD                           Case No.: 2:19-cv-10423-GCS-APP

       Plaintiff,                       Judge George Caram Steeh

v.                                      Magistrate Judge Anthony P. Patti

EQUIFAX INFORMATION
SERVICES LLC, et al,

       Defendants.

CHAMI LAW, PLLC                         CLARK HILL PLC
Tarek N. Chami                          Jordan S. Bolton
22000 Michigan Ave., Suite 200          151 S. Old Woodward Ave., Suite 200
Dearborn, MI 48124                      Birmingham, MI 48009
(313) 444-5029                          (248) 988-1839
Email: tarek@chamilawpllc.com           Email: JBolton@clarkhill.com
Attorneys for Plaintiffs                Attorneys for Equifax Information
                                        Services LLC.


      DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
     ANSWER AND DEFENSES TO PLAINTIFF’S FIRST AMENDED
                       COMPLAINT

      Defendant, Equifax Information Services LLC (“Equifax”), by Counsel, files

its Answer and Defenses to Plaintiff’s First Amended Complaint (“Complaint”) as

follows:
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                         PRELIMINARY STATEMENT

      In answering the Complaint, Equifax states that it is responding to allegations

on behalf of itself only, even where the allegations pertain to alleged conduct by all

Defendants.     Equifax denies any and all allegations in the headings and/or

unnumbered paragraphs in the Complaint.

                                      ANSWER

      In response to the specific allegations in the enumerated paragraphs in the

Complaint, Equifax responds as follows:

      1.      To the extent Plaintiff has properly alleged her claims, Equifax admits

the Court may exercise its jurisdiction. Equifax is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 1.

      2.      Equifax admits it conducts business in the Eastern District of Michigan.

To the extent Plaintiff has properly alleged her claims, Equifax admits the Court may

exercise its jurisdiction. Equifax is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 2.

      3.      Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 2.

      4.      Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 4.

      5.      Equifax admits the allegations in Paragraph 5.



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      6.     Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 6.

      7.     Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 7.

      8.     Equifax admits the allegations in Paragraph 8.

      9.     Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 9.

      10.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 10.

      11.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 11.

      12.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 12.

      13.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 13.

      14.    Equifax admits it received a dispute from Plaintiff. Equifax states that

the dispute speaks for itself, and to the extent Plaintiff misquotes, misstates,

mischaracterizes, or takes out of context the dispute with Equifax, the allegations are

denied.

      15.    Equifax admits that it forwarded Plaintiff’s dispute to Celtic Bank and



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TBOM/TFC. Equifax denies it forwarded Plaintiff’s dispute to Comenity, CCB, or

Credit One, but denies that this conduct violates the FCRA.

      16.    Equifax denies the allegations in Paragraph 16.

      17.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 17.

      18.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 18.

      19.    Equifax denies the allegations in Paragraph 19 as they pertain to

Equifax. Equifax is without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 19.

      20.    Equifax denies the allegations in Paragraph 20 as they pertain to

Equifax. Equifax is without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 20.

      21.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 20.

      22.    Equifax states that the FCRA speaks for itself. To the extent Plaintiff

misstates, misquotes, or mischaracterizes the FCRA, Equifax denies the allegations

in Paragraph 22.

      23.    Equifax states that the FCRA speaks for itself. To the extent Plaintiff

misstates, misquotes, or mischaracterizes the FCRA, Equifax denies the allegations



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in Paragraph 23.

      24.    Equifax admits it received a dispute from Plaintiff. Equifax states that

the dispute speaks for itself, and to the extent Plaintiff misquotes, misstates,

mischaracterizes, or takes out of context the dispute with Equifax, the allegations are

denied.

      25.    Equifax denies the allegations in Paragraph 25.

      26.    Equifax denies the allegations in Paragraph 26.

      27.    Equifax denies the allegations in Paragraph 27.

      28.    Equifax denies the allegations in Paragraph 28.

      29.    Equifax denies the allegations in Paragraph 29.

      30.    Equifax denies the allegations in Paragraph 30.

      31.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 30.

      32.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 32.

      33.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 33.

      34.    Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 34.

      35.    Equifax is without knowledge or information sufficient to form a belief



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as to the truth of the allegations in Paragraph 35.

      36.     Equifax is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 36.

      37.     Equifax denies Plaintiff is entitled to any relief claimed in her Prayer

for Relief.

      38.     Equifax admits Plaintiff demands a trial by jury.

      39.     Any allegation in Plaintiff’s Complaint not heretofore specifically

responded to by Equifax is hereby denied.

                                     DEFENSES

      Without assuming the burden of proof where it otherwise rests with Plaintiff,

Equifax pleads the following defenses to the Complaint:

                                 FIRST DEFENSE

      At all pertinent times, Equifax maintained reasonable procedures to assure

maximum possible accuracy in its credit reports.

                               SECOND DEFENSE

      Plaintiff’s damages, if any, were not caused by Equifax, but by another person

or entity for whom or for which Equifax is not responsible.




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                                  THIRD DEFENSE

      Equifax has complied with the Fair Credit Reporting Act in its handling of

Plaintiff’s credit file and is entitled to each and every defense stated in the Act and

any and all limitations of liability.

                                FOURTH DEFENSE

      Plaintiff cannot meet the requirements of 15 U.S.C. § 1681n in order to

recover punitive or statutory damages.

                                  FIFTH DEFENSE

      Equifax adopts by reference the defenses, criteria, limitations, standards and

constitutional protections mandated or provided by the United States Supreme Court

in the following cases: BMW v. Gore, 517 U.S. 559 (1996); Cooper Indus., Inc. v.

Leatherman Tool Group, Inc., 532 U.S. 923 (2001); State Farm v. Campbell, 538

U.S. 408 (2003), and Safeco Insurance Co. of America v. Burr, 551 U.S. 47 (2007).

      Equifax reserves the right to assert additional defenses that it learns through

the course of discovery.

      WHEREFORE, having fully answered or otherwise responded to the

allegations in Plaintiff’s Complaint, Equifax prays that:

      (1)    Plaintiff’s Complaint be dismissed in its entirety and with prejudice,

with all costs taxed against Plaintiff;

      (2)    Equifax be dismissed as a party to this action;



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      (3)   Equifax recover such other and additional relief as the Court deems just

and appropriate.

      Respectfully submitted this 16th day of October 2019.

                                      /s/ Jordan S. Bolton
                                      Jordan S. Bolton (P66309)
                                      CLARK HILL, PLC
                                      151 S. Old Woodward Ave., Suite 200
                                      Birmingham, MI 48009
                                      (248) 988-1839
                                      jbolton@clarkhill.com
                                      Attorneys for Equifax Information Services
                                      LLC




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